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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION



LUMENIS LTD. and
LUMENIS INC.,

        Plaintiffs,

                 v.                                           Civil Action No. 07CV3622

ALMA LASERS LTD. and
ALMA LASERS, INC.,

        Defendants.


                    PLAINTIFF’S OPPOSITION TO ALMA LASERS’
                 MOTION TO COMPEL DOCUMENT PRODUCTION DATE

        Plaintiff, Lumenis Inc. (“Lumenis”), respectfully submits this opposition to Alma Lasers,

Inc.’s Motion to Compel Document Production Date (Docket Nos. 194-195) because Alma

Lasers, Inc. (“Alma”) has not satisfied its obligation to meet-and-confer in accordance with

Local Rule 37.2. For the reasons set forth below, Lumenis requests the Court to deny Alma’s

motion or to strike it in its entirety.1/

                                              BACKGROUND

        On October 13, 2009, the Court lifted the stay on Lumenis’ trade secret claims and

ordered that “discovery on those claims shall commence immediately.” See Ex. B. In response

to the Court’s Order, both Lumenis and Alma served respective sets of documents requests in

October 2009. As of the time of the December 8, 2009 “meet-and-confer” referred to in Alma’s



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         This is not the first time Defendants have failed to comply with Local Rule 37.2. Indeed, on December 19,
2007, the Court denied Defendants’ motion for sanctions on the basis that Defendants did not comply with Local
Rule 37.2. See Ex. A.
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motion, Lumenis had produced over 40,000 pages of information to Alma, and Alma had

produced nothing to Lumenis.

         Three days after that meet-and-confer, Alma proposed for the first time that the parties

exchange documents on January 31, 2010. See Ex. C. Alma requested Lumenis’ response to this

proposal by December 16, 2009. See id. Based on Alma’s scant production to date, Lumenis

responded by requesting a meet-and-confer to discuss setting a mutually agreeable production

date. See Ex. D, p. 5 (Issue No. 4). Regarding availability to meet-and-confer, Lumenis’ counsel

stated that he would be “generally available during business hours next Monday through

Wednesday (December 21-23)” and that he would be “also available 9:00 a.m. to 12:00 p.m.

next Thursday (December 24).” See id, p. 6.

         Alma responded on December 17, 2009 and indicated that it was available to meet-and-

confer on Tuesday, December 22, 2009 at 3:30 p.m. See Ex. E. Alma expressly, but

misleadingly as is now apparent, agreed to meet-and-confer to target and select a realistic date

for mutual completion of document production. See id. Thus, a meet-and-confer has been

agreed-to by Alma and scheduled for December 22, 2009. Alma should not, via its present

motion, be permitted to circumvent the meet-and-confer requirement that it has already agreed

to.

         Further, Alma’s present motion is nothing more than a knee-jerk reaction to the motion to

compel filed by Lumenis during business hours on December 18, 2009. Lumenis’ motion

requests the Court to compel production of a specific subset of documents for use in the

imminent deposition of Alma’s former CEO, Mr. Howard Kelly to be taken on December 22,

2009. See Docket Nos. 191-192. Alma did not file the present motion until after business hours




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on Friday, December 18, 2009 (7:51 p.m. CST) and after Alma had agreed to meet-and-confer

on the subject matter of its motion on December 22, 2009.

       Lumenis has not refused to set a date certain by which it will complete document

production. To the contrary, and as the written agreement to meet-and-confer plainly indicates,

the sides were planning to discuss the issue on December 22, 2009 at 3:30 p.m. See Exs. C and

D. Lumenis notes, however, that setting a date certain by which the parties expect to complete

document production does not circumvent the ongoing duty under the Federal Rules to

supplement document production.

       Alma’s motion to compel is an obvious attempt to bootstrap an issue to Lumenis’ motion

to compel. Alma should not be permitted to circumvent its meet-and-confer obligations. Nor

should Alma be permitted to create an issue where none presently exists. Alma’s motion to

compel is premature and should be denied. Alternatively, it should be stricken for failing to

comply with Local Rule 37.2.

                                        CONCLUSION

       For the reasons set forth above, Lumenis requests that Alma’s motion to compel (Doc.

Nos. 194-195) be denied. Alternatively, Lumenis request that it be stricken.




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                                            Respectfully submitted,

                                            LUMENIS INC.


Dated: December 21, 2009                By: /s/ Annette M. McGarry
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                                 CERTIFICATE OF SERVICE

        I hereby certify that today I caused a copy of the foregoing to be filed electronically with
the Clerk of the Court using the CM/ECF system which will automatically send notification of
such filing via electronic mail to counsel of record.


                                                              /s/ Annette M. McGarry




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